     Case 13-21445-DHS            Doc 11       Filed 07/15/13 Entered 07/15/13 14:30:19                      Desc Final
                                                Decree Page 1 of 1
Form 177 − fnldec

                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                      Case No.: 13−21445−DHS
                                      Chapter: 7
                                      Judge: Donald H. Steckroth

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Calm Development, Inc.
   316 E Allendale Rd
   Allendale, NJ 07401
Social Security No.:

Employer's Tax I.D. No.:


                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that Eric R. Perkins is discharged as trustee of the estate of the above named debtor(s) and the
bond is canceled; and the case of the above named debtor(s) is closed.


Dated: July 15, 2013                        Donald H. Steckroth
                                            Judge, United States Bankruptcy Court
